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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

BAHIA AMAWI,                                              §
                                                          §
                 Plaintiff,                               §
                                                          §
v.                                                        §                     1:18-CV-1091-RP
                                                          §
PFLUGERVILLE INDEPENDENT                                  §
SCHOOL DISTRICT, et al.,                                  §                     Consolidated with:
                                                          §                     1:18-CV-1100-RP
                 Defendants.                              §

                                                    ORDER

        Before the Court are Plaintiffs’ Motion for Preliminary Injunction, (Dkt. 8), Defendant Board of

Regents of the Texas A&M University System and Defendant Board of Regents of the Houston University

System’s Motion to Dismiss and Response to Plaintiffs’ Motion for Preliminary Injunction, (Dkt. 24),

Defendant Trustees of the Lewisville Independent School District’s Motion to Dismiss, (Dkt. 43), Defendant

Trustees of the Klein Independent School District’s Motion to Dismiss, (Dkt. 44), and Defendant Ken

Paxton’s Motion to Dismiss, (Dkt. 55). Plaintiffs request a hearing on their motion for a preliminary

injunction. (Dkt. 8). Having considered all the above motions, the Court finds that they raise arguments

relevant to Plaintiffs’ request for injunctive relief. The Court will therefore consider all of the motions in the

same hearing.

        IT IS ORDERED that the Court will hold a hearing on all the above motions at 9:00 am on

March 29, 2019. The hearing will take place in Courtroom 4, on the Fifth Floor, United States Courthouse,

501 West Fifth Street, Austin, Texas. Counsel for all parties must appear at this hearing.

        SIGNED on February 20, 2019.


                                                    _____________________________________
                                                    ROBERT PITMAN
                                                    UNITED STATES DISTRICT JUDGE
